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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                     )
NAUTILUS INSURANCE COMPANY,                          )
                                                     )
                Plaintiff,                           )
v.                                                   )
                                                     )       Case No. 21-cv-4165
SUMMERHILL CONSTRUCTION, INC.,                       )
DMKM DEVELOPMENT, LLC,                               )
AND JAMES MOELLER                                    )
                                                     )
            Defendants.                              )
____________________________________                 )


                      COMPLAINT FOR DECLARATORY JUDGMENT

        Now comes Plaintiff, Nautilus Insurance Company (“Nautilus”), by counsel, and for its

Complaint for Declaratory Judgment against Defendants, Summerhill Construction, Inc., DMKM

Development, LLC, and James Moeller, states as follows:

                             PARTIES, VENUE AND JURISDICTION

        1.      At all times relevant, Plaintiff Nautilus was an insurance company incorporated and

duly authorized and existing under the laws of the State of Arizona, with its principal place of

business in Scottsdale, Arizona. Pursuant to 28 U.S.C. § 1332, Nautilus is a citizen of Arizona.

        2.      Defendant Summerhill Construction, Inc. (“Summerhill”) is and was at all times

relevant an Illinois corporation with its principal place of business located at 6351 West Monroe

Avenue, Suite 140, Chicago Illinois 60634. Summerhill is a citizen of the State of Illinois.

        3.      Defendant DMKM Development LLC (“DMKM”) is and was at all times relevant

an Illinois limited liability company with its principal place of business located at 6351 West

Monroe Avenue, Suite 140, Chicago Illinois 60634. DMKM Development LLC is a citizen of the

State of Illinois.
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        4.     Nautilus, through counsel, conducted a reasonable inquiry to determine the

membership of DMKM by searching available public records including the Illinois Secretary of

State website, other internet sources, Westlaw and PACER.

        5.     Nautilus hereby avers the results of its investigation to determine the membership

of DMKM which is sufficient to satisfy the jurisdictional requirements. Med. Assur. Co. v.

Hellman, 610 F.3d 371, 376 (7th Cir. 2010); Emps. Preferred Ins. Co. v. C&K Hotel Grp., LLC,

No. 15-CV-1500, 2016 WL 755600, at *3 (C.D. Ill. Feb. 25, 2016)(citing Lincoln Ben. Life Co.

v. AEI Life, LLC, 800 F.3d 99, 106-11 (3d Cir. 2015) (a plaintiff's good faith allegations of the

requisite jurisdictional basis regarding an LLC is sufficient to survive a facial attack) and Carolina

Casualty Insurance Co. v. Team Equipment, Inc., 741 F.3d 1082 (9th Cir. 2014) (holding

similarly)).

        6.     To the extent there exists any factual challenge to jurisdiction, Nautilus requests

that it be permitted to conduct jurisdictional discovery to confirm that complete diversity exists.

        7.     Nautilus’ investigation revealed no connection between DMKM Development LLC

and Plaintiff’s state of citizenship – Arizona.

        8.     The Illinois Secretary of State website identified the “manager” of DMKM

Development LLC as Kevin Murphy, 6351 W. Montrose Ave., #140, Chicago, IL 60634.

        9.     The Illinois Secretary of State website identified Steven Moltz, 19 S. La Salle St.

Ste 900, Chicago, IL 60603, as the registered agent for DMKM Development LLC.

        10.    Nautilus identified Barbara Murphy as a possible member of DMKM Development

LLC via a search of the website LinkedIn wherein Ms. Murphy identified herself as a “Co-Owner”

of DMKM Development LLC.
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       11.     The location information provided by Ms. Murphy on her LinkedIn page was

“Chicago, Illinois” and the location information for DMKM Development LLC was identified as

“Greater Chicago Area”.

       12.     In it’s June 24, 2021denial letter to DMKM Development LLC, Nautilus asked

DMKM to advise Nautilus of the identity of all members of DMKM Development LLC.

       13.     Although DMKM responded to the denial letter through counsel, the response did

not provide the requested identity of all members of DMKM Development LLC.

       14.     Although Nautilus’ investigation did not definitively reveal the identity of the

members of DMKM Development LLC, upon information and belief, the two members of DMKM

Development LLC are Kevin Murphy and Barbara Murphy.

       15.     Upon information and belief, based upon reasonable investigation, the members of

DMKM Development LLC are not citizens of Arizona.

       16.     Upon information and belief, based upon reasonable investigation, Kevin Murphy

and Barbara Murphy are citizens of Illinois.

       17.     Upon information and belief, Defendant James Moeller (“Moeller”) is a citizen and

resident of the State of Illinois. Moeller is named as a necessary party in this action because he is

the plaintiff in the underlying lawsuit styled James Moeller v. Summerhill Construction, Inc.,

Seven D Construction, Peoples Gas, DMKM Development, LLC and City of Chicago filed in the

Circuit Court of Cook County Illinois, Cause No. 2020L008615 (“Moeller Lawsuit”).

       18.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332 because

there is complete diversity of citizenship between the plaintiff and the defendants, and the amount

in controversy exceeds $75,000, exclusive of interest and costs.
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        19.     Venue is proper pursuant to 28 U.S.C. §1391 because a substantial part of the events

giving rise to this litigation occurred in this judicial district, and because at least one of the

defendants resides in this judicial district.

                                       MOELLER LAWSUIT

        20.     The Moeller Lawsuit alleges that on or about August 26, 2018 Summerhill owned,

controlled and/or was in charge of erection, construction, repairs, alteration, removal and/or

painting at or near 4818 W. Montrose Avenue in Chicago Illinois. (Exhibit A, Moeller Lawsuit

Complaint, Count I, par. 1).

        21.     The Moeller Lawsuit alleges that on or about August 26, 2018 DMKM owned,

controlled and/or was in charge of erection, construction, repairs, alteration, removal and/or

painting at or near 4818 W. Montrose Avenue in Chicago Illinois. (Exhibit A, Count IV, par. 1).

        22.     The Moeller Lawsuit alleges that on or about August 26, 2018 Moeller was

operating a motor vehicle at or near 4818 W. Montrose Avenue in Chicago Illinois. (Exhibit A,

Count I, par. 2; Count IV, par. 2; Count V, par. 2).

        23.     The Moeller Lawsuit alleges that the vehicle operated by Moeller encountered a

defect in the roadway at 4818 W. Montrose Avenue in Chicago Illinois which was created by

Summerhill which caused Moeller’s motorcycle to crash. (Exhibit A, Count I, par. 5)

        24.     The Moeller Lawsuit alleges that the vehicle operated by Moeller encountered a

defect in the roadway at 4818 W. Montrose Avenue in Chicago Illinois which was created by

DMKM which caused Moeller’s motorcycle to crash. (Exhibit A, Count IV, par. 5)

        25.     The Moeller Lawsuit alleges that Summerhill is guilty of one or more careless and

negligent acts and/or omissions. (Exhibit A, Count I, par. 7)
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          26.   The Moeller Lawsuit alleges that DMKM is guilty of one or more careless and

negligent acts and/or omissions. (Exhibit A, Count, IV, par. 7)

                                      NAUTILUS POLICY

          27.   Nautilus issued a Commercial General Liability policy no. PN017073 to Named

Insureds (per endorsement) Summerville Construction Inc. and DMKM Development LLC for the

policy period of October 9, 2017 through October 9, 2018. (“Nautilus Policy”). A true and accurate

copy of the Nautilus Policy is attached hereto as Exhibit B.

          28.   Summerhill and DMKM tendered the Moeller Lawsuit to Nautilus.

          29.   Nautilus agreed to defend Summerhill and DMKM subject to a reservation of

rights.

          30.   On June 24, 2021, Nautilus issued a denial letter to Summerhill and DMKM

denying any duty to defend or indemnify Summerhill and DMKM in the Moeller Lawsuit and

withdrawing its defense.

          31.   As of the filing of this complaint, the City of Chicago has not tendered the Moeller

Lawsuit to Nautilus.

          32.   Upon information and belief, the City of Chicago has been dismissed from the

Moeller Lawsuit. To the extent that the City of Chicago has not been dismissed from the Moeller

Lawsuit, Nautilus reserves the right to add the City of Chicago as a defendant to this declaratory

judgment action.

          33.   It is Nautilus’ position that the Nautilus Policy does not provide any coverage for

the claims asserted in the Moeller Lawsuit against Summerhill or DMKM.

                                            COUNT I

                                      AUTO EXCLUSION
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       34.     Nautilus adopts and realleges the allegations in paragraphs 1 through 33 of its

Complaint for Declaratory Judgment as if fully set forth herein.

       35.     The Nautilus Policy attaches Endorsement L204 (07/15) - Exclusion- Unmanned

Aircraft, Other Than Unmanned Aircraft, Auto or Watercraft, which provides, in relevant part, as

follows:

             EXCLUSION – UNMANNED AIRCRAFT, OTHER THAN UNMANNED

                          AIRCRAFT, AUTO OR WATERCRAFT

       This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART

       A.      Exclusion g. Aircraft, Auto Or Watercraft under Paragraph 2. Exclusions of
               Section I - Coverage A - Bodily Injury and Property Damage Liability is
               replaced by the following:

               2.     Exclusions

               This insurance does not apply to:

               g.     Aircraft, Auto Or Watercraft
                                            ***
                      (2)    Aircraft (Other Than Unmanned Aircraft), Auto Or Watercraft

                              "Bodily injury" or "property damage" arising out of the ownership,
                              maintenance, use or entrustment to others of any aircraft (other than
                              “unmanned aircraft”), "auto" or watercraft. Use includes operation
                              and "loading or unloading".

                              This Paragraph g.(2) applies even if the claims against any insured
                              allege negligence or other wrongdoing in the supervision, hiring,
                              employment, training or monitoring of others by that insured, if the
                              "occurrence" which caused the "bodily injury" or "property damage"
                              involved the ownership, maintenance, use or entrustment to others
                              of any aircraft (other than “unmanned aircraft”), "auto" or
                              watercraft.

                      This Paragraph g.(2) does not apply to:

                      (a) A watercraft while ashore on premises you own or rent; or
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                        (b) "Bodily injury" or "property damage" arising out of:

                            (i) The operation of machinery or equipment that is attached to, or part
                            of, a land vehicle that would qualify under the definition of "mobile
                            equipment" if it were not subject to a compulsory or financial
                            responsibility law or other motor vehicle insurance law where it is
                            licensed or principally garaged; or
                            (ii) The operation of any of the machinery or equipment listed in
                            Paragraph f.(2) or f.(3) of the definition of "mobile equipment" as
                            follows:

                               (aa) Cherry pickers and similar devices mounted on automobile or
                               truck chassis and used to raise or lower workers; and
                               (bb) Air compressors, pumps and generators, including spraying,
                               welding, building cleaning, geophysical exploration, lighting and
                               well servicing equipment.

          (Exhibit B, Endorsement L204 (07/15), pp. 37 – 38, (hereinafter “Auto Exclusion)

          36.    The Nautilus Policy defines the term “auto” as follows:

                 2.     "Auto" means:

                 a.     A land motor vehicle, trailer or semitrailer designed for travel on public
                        roads, including any attached machinery or equipment; or
                 b.     Any other land vehicle that is subject to a compulsory or financial
                        responsibility law or other motor vehicle insurance law where it is licensed
                        or principally garaged.

                 However, "auto" does not include "mobile equipment".

                 (Exhibit B, Form CG 00 01 04 13, page 13 of 16)

          37.    The motorcycle alleged to have been driven by Mr. Moeller at the time of his

injuries qualifies as an “auto” under the Nautilus Policy.

          38.    The Auto Exclusion bars coverage for the injuries alleged in the Moeller Lawsuit

because all of the injuries are alleged to arise out of the ownership, maintenance, or use of an

"auto".
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       39.     Nautilus has no duty under the Nautilus Policy to defend Summerhill or DMKM

against the Moeller Lawsuit, or to indemnify them for any judgment or settlement entered in the

Moeller Lawsuit.

                                           COUNT II

                       NO PERSONAL OR ADVERTISING INJURY

       40.     Nautilus adopts and realleges the allegations in paragraphs 1 through 39 of its

Complaint for Declaratory Judgment as if fully set forth herein.

       41.     The Insuring Agreement of COVERAGE B - PERSONAL AND ADVERTISING

INJURY LIABILITY of the Nautilus Policy provides that Nautilus will pay those sums that the

insured becomes legally obligated to pay as damages because of "personal and advertising injury"

to which this insurance applies. (Exhibit B, Form CG 00 01 04 13, p. 15)

       42.     The Nautilus Policy defines “personal and advertising injury” in Definition 14 as

follows:

               14.    "Personal and advertising injury" means injury, including
                      consequential "bodily injury", arising out of one or more of the
                      following offenses:

                      a. False arrest, detention or imprisonment;
                      b. Malicious prosecution;
                      c. The wrongful eviction from, wrongful entry into, or invasion of
                      the right of private occupancy of a room, dwelling or premises that
                      a person occupies, committed by or on behalf of its owner, landlord
                      or lessor;
                      d. Oral or written publication, in any manner, of material that
                      slanders or libels a person or organization or disparages a person's
                      or organization's goods, products or services;
                      e. Oral or written publication, in any manner, of material that
                      violates a person's right of privacy;
                      f. The use of another's advertising idea in your "advertisement"; or
                      g. Infringing upon another's copyright, trade dress or slogan in your
                      "advertisement".

(Exhibit B, Form CG 00 01 04 13, p. 24)
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       43.     The allegations of the Moeller Lawsuit do not satisfy the definition of “personal

and advertising injury” in the Nautilus Policy.

       44.     The Insuring Agreement of Coverage B of the Nautilus Policy is not satisfied.

       45.     Nautilus has no duty under the Nautilus Policy to defend Summerhill or DMKM

against the Moeller Lawsuit, or to indemnify them for any judgment or settlement entered in the

Moeller Lawsuit.

       46.     For the reasons set forth above, and for any additional reasons under the terms or

conditions of the Nautilus Policy, Nautilus has no duty under the Nautilus Policy to defend

Summerhill or DMKM against the Moeller Lawsuit, or to indemnify them for any judgment or

settlement entered in the Moeller Lawsuit.

       47.     An actual controversy exists between Nautilus, Summerhill, DMKM, and Moeller,

and by the terms and provisions of 28 U.S.C. §2201, this Court is vested with the authority to

declare the rights and liabilities of the parties hereto and to grant such further and other relief as

may be necessary.

       WHEREFORE, Plaintiff, Nautilus, respectfully prays that this Honorable Court:

               a.      Determine and adjudicate the rights and liabilities of the parties
                       hereto with respect to the Nautilus Policy;

               b.      Find and declare that the aforementioned coverage defenses bar
                       coverage under the Nautilus Policy for the Moeller Lawsuit;

               c.      Find and declare that Nautilus has no duty under the Nautilus Policy
                       to defend Summerhill and DMKM against the Moeller Lawsuit, or
                       to indemnify Summerhill and DMKM, for any judgment or
                       settlement entered in the Moeller Lawsuit; and

               d.      Grant Nautilus such other and further relief that the Court deems
                       proper under the facts and circumstances.
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                                            Respectfully submitted,

                                            TRAUB LIEBERMAN STRAUS &
                                            SHREWSBERRY LLP

                                            s/ Dana A. Rice
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